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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA,


       vs.
                                                             Criminal Nos. 23-10159-IT
JACK DOUGLAS TEIXEIRA

                      Defendant.




                            JOINT INTERIM STATUS REPORT

       An interim status conference is scheduled for December 11, 2023.

       Pursuant to Local Rule 116.5(b), the government submits the following status report,

having conferred with, and received assent from, counsel for the defendant.

       Local Rule 116.5 (b) (1) through (9)

       1. Automatic and Additional Discovery and Discovery Requests

       The government has produced unclassified automatic discovery to the defendant. The

government is in the process of providing additional unclassified discovery. The defendant has

made additional formal discovery requests to which the government has responded.

       2. Timing of Additional Discovery Requests

       Since the last status hearing, the defendant has provided the government with discovery

requests, the most recent being by letter on November 30, 2023. The parties are working

collaboratively to address these requests, including disputes, and as such there are no issues ripe

for presentation to the Court at this time. Mr. Teixeira continues to review the most recently

provided unclassified discovery and anticipates making any additional request prior to the next

scheduled status hearing.
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        3. Protective Orders

        The Court has entered a protective order governing classified information. No further

protective order is necessary.

        4. Pretrial Motions

        The defendant has not yet filed any pretrial motions under Fed. R. Crim. P. 12(b). He

reserves the right to file after additional review of the discovery. The parties understand that the

Court will set a motion schedule.

        5. Timing of Expert Disclosures

        The Court has not yet established a date for expert witness disclosures. While the parties

anticipate that expert witnesses may testify at trial, the parties believe it is premature to set a

deadline for expert disclosures at this time.

        6. Defense of Insanity, public authority, or alibi

        The defense requires additional time to ascertain whether he intends to assert any defense

of insanity, public authority or alibi.

        7. Excludable Delay

        In the Court’s Report after the Interim Status Conference filed October 5, 2023, the Court

wrote that it “appears that five days (from the filing of the indictment on June 15, 2023, until the

June 21, 2023 arraignment ) are chargeable against the statutory speedy trial clock.              The

government does not believe there is any other chargeable time.

        7. Plea Discussions and Length of Trial.

        The parties have not yet engaged in substantive plea discussions. If this matter proceeds

to trial, the government believes that a trial, including selection of a jury, will be approximately

two to three weeks.

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       8. Timing of Interim Status Conference

       The parties respectfully request that the Court set a further interim status conference in

approximately forty-five days.    There is a hearing pursuant to section 2 of the Classified

Information Procedures Act scheduled before the district court judge on December 21, 2023. The

government expects that those proceedings may also impact any schedule set by this Court.

       Finally, the parties jointly and respectfully request that the Court exclude the time from

December 11, 2023 through the date set for further interim status conference pursuant to the

provisions of the Speedy Trial Act, specifically, 18 U.S.C. § 3161(h)(7)(A), because the ends of

justice served by taking such action outweigh the best interest of the public and Defendants in a

speedy trial.


December 8, 2023                                    Respectfully submitted,


                                                    JOSHUA S. LEVY
                                                    Acting United States Attorney

                                                    /s/ Nadine Pellegrini
                                                    NADINE PELLEGRINI
                                                    JARED C. DOLAN
                                                    JASON CASEY
                                                    Assistant United States Attorneys

                                                    MATTHEW G. OLSEN
                                                    Assistant Attorney General

                                                    /s/ Christina A. Clark
                                                    CHRISTINA A. CLARK
                                                    Trial Attorney
                                                    National Security Division




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                                   CERTIFICATE OF SERVICE
        I hereby certify that this document filed today through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF).



                                                      /s/ Nadine Pellegrini
                                                      Nadine Pellegrini
                                                      Assistant United States Attorney


December 8, 2023




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